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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



United States of America

-vs-                                            Case No. 2:12-cr-181 (3)

Chad A. Goggans                                 On the second       superseding
________________________________                indictment

                          REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to Rule
11, F.R.Cr.P. and has entered a plea of guilty to Counts five (5) and ten
(10) of the Indictment.     After examining the Defendant under oath
concerning each of the subjects mentioned in Rule 11, I determine that the
defendant is competent and capable of entering an informed plea, that the
guilty plea is knowingly and voluntary made and that the offenses charged
are supported by an independent basis in fact containing each of the
essential elements of such offense.
       I therefore RECOMMEND the plea agreement and the plea of guilty should
be accepted and the Defendant should be adjudged guilty and sentenced
accordingly.    Otherwise, the plea agreement should be rejected and the
defendant should be allowed to withdraw the guilty plea.
     The Defendant remains in the custody of the U.S. Marshal pending
sentencing.



Date: June 14, 2013                         /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE


                                     NOTICE

     Failure to file written objections to this Report and Recommendation
within fourteen (14) days from the date of its service shall bar an aggrieved
party from attacking such Report and Recommendation before the assigned
United States District Judge. 28 U.S.C. Section 636(b)(1)(B).
